                    Case 3:19-cr-30018-DJC Document 1-1 Filed 04/25/19 Page 1 of 2

~ JS 45 (5/97) • (Revised U.S.D.C. MA 3/25/201 I l

Criminal Case Cover Sheet                                                                 U.S. District Court - District of Massachusetts

                                                                   II                     Investigating Agency         FBI
Place of Offense:                               Category No.

City       Springfield                                   Related Case Information:

County        _l_
                -lam_.pd_en_ _ _ _ _ __                               li,e./ In f.
                                                         ~U!'8V8il8iflg            l 8-cr-30025      Case No.
                                                         Same Defendant                         New Defendant
                                                                                                              ----
                                                         Magistrate Judge Case Number
                                                         Search Warrant Case Number
                                                         R 20/R 40 from District of

Defendant Information:

De fendant Name          Carlos Maldonado
                         ------------------ Juvenile:                                                         D       Yes [Z] No

                           ls this person an attorney and/or a mem ber of any state/federal bar:              D       Yes   [ZJ   No
Alias Name
Address                    (C ity & State) Springfi eld, Massachusetts

Birth date (Yr only): 1988 SSN (last4#): 4720                Sex~              Race: -U- - - -              ationality: -US- - - - - - -

Defense Counsel if known:                       Miriam Conrad                            Add ress 51 Sleeper Street

Bar Number                                                                                           Boston, MA

U.S. Attorney Informa tion:

AUSA           Greg A. Friedho lm                                             Bar Number if applicab le

Interpreter:     D Yes [Z]No                    List language and/or dialect :

Victims:         [Z]Yes D No If yes. are there mu lti ple crime victi ms under 18 USC§3 77 l(d)(2) D Yes                           O No

Matter to be SEALED:      D Yes [ZJ No
       Owarrant Requested                 D Regular Process                         D In Custody
Location Status:

Arrest Date

[Z]A lready in Federal Custody as of                         09/16/.2016                   in        Hampden County HOC
OAlready in State Custody at - - - - - - - - - - - []serving Sentence                                        D    wait ing Trial
D o n Pretrial Release:            Ordered by:                                                  on

Charging Document:                        •     complai nt              D In formation                    [ZJ 1ndictment
Total # of Counts:                        •     Petty - - - -           0   Misdemeanor                  [Z] Felony

                                                 Conti nue on Page 2 fo r Entry of U.S.C. Citations

[Z]       I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set fo rth above.

Date:      04/25/20 19                               Signature of AUSA :
                  Case 3:19-cr-30018-DJC Document 1-1 Filed 04/25/19 Page 2 of 2


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District Court Case Number (To be filled in by deputy clerk):
Name of Defendant
                                                                    U.S.C. Citations
                Index Key/Code                                     Description of Offense Charged         Count Numbers
Set I     18 U.S.C. s. I lS(a)(l)(B)                 Threat to Murder a Federal Law Enforcement Officer


 Set2


Set 3


 Set 4

 Set 5

 Set6


 Set 7

 Set 8


 Set9

 Set 10 _ _ _ _ _ _ _ __

 Set 11 _ _ _ _ _ _ _ __


 Set 12 _ _ _ _ _ _ _ __

 Set 13 _ _ _ _ _ _ _ __

 Set 14 _ _ _ _ _ _ _ _ __


Set 15 _ _ _ _ _ _ _ _ __

ADDITIONAL INFORMATION:




USAMA CRIM- Criminal Cue Cover Sheet.pelf 3/4/2013
